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B O I E S ,          S C H I L L E R                &      F L E X N E R                L L P
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                                         August 19, 2016

  Via Electronic Mail
  Michael Dell’Angelo                                      Daniel Silverman
  Berger & Montague                                        Cohen Milstein Sellers & Toll PLLC
  1622 Locust Street                                       88 Pine Street
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         Re:    Le, et al. v. Zuffa, LLC; Case No. 2:15-cv-01045-RFB-(PAL),
                and consolidated cases

  Dear Mr. Dell’Angelo and Mr. Silverman:

          Pursuant to Section 11 of the Revised Stipulation and Protective Order (ECF No. 217),
  Zuffa is clawing back the documents listed below. Both of these documents were inadvertently
  produced and protected from disclosure pursuant to the work-product doctrine.

  Bates Number                    Replacement Document
  ZFL-0557588-599                 Document Withheld as Privileged slipsheet
  ZFL-1824835-837                 Document Withheld as Privileged slipsheet

         Attached is an overlay with replacement images for the above documents. Please have
  your document vendor replace the pre-existing versions of the above documents with the new
  versions, and delete or destroy all other copies of the previously-produced versions of these
  documents. Thank you for your professionalism and cooperation in this regard.


                                                            Very truly yours,




                                                             Stacey K. Grigsby




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